          Case 2:18-cv-00688-MSG Document 3 Filed 02/27/18 Page 1 of 2



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SEAN C. RAFFERTY                              :
                                              :
                       Plaintiff,             :          NO. 2:18-cv-00688
                                              :
               v.                             :
                                              :
JANE DONZE, ET AL.                            :      JURY TRIAL DEMANDED
                                              :
                       Defendants.            :

                                    NOTICE OF APPEARANCE

TO THE CLERK:

       Kindly enter the appearance of Matthew B. Weisberg, Esquire, as co-counsel, on behalf

of Plaintiff, Sean C. Rafferty, in regards to the above-captioned matter.




                                                     WEISBERG LAW


                                                     /s/ Matthew B. Weisberg
                                                     Matthew B. Weisberg, Esquire
                                                     PA Attorney ID #: 85570
                                                     7 S. Morton Avenue
                                                     Morton, PA 19070
                                                     (610) 690-0801
                                                     (610) 690-0880 – Fax
                                                     mweisberg@weisberglawoffices.com
                                                     Attorney for Plaintiffs
          Case 2:18-cv-00688-MSG Document 3 Filed 02/27/18 Page 2 of 2



                          UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SEAN C. RAFFERTY                            :
                                            :
                      Plaintiff,            :          NO. 2:18-cv-00688
                                            :
               v.                           :
                                            :
JANE DONZE, ET AL.                          :       JURY TRIAL DEMANDED
                                            :
                      Defendants.           :

                                   CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 27th day of February, 2018, a

true and correct copy of the foregoing Notice of Appearance was served via ECF and regular

mail upon all unrepresented parties.




                                                    WEISBERG LAW


                                                    /s/ Matthew B. Weisberg
                                                    Matthew B. Weisberg, Esquire
                                                    PA Attorney ID #: 85570
                                                    7 S. Morton Avenue
                                                    Morton, PA 19070
                                                    (610) 690-0801
                                                    (610) 690-0880 – Fax
                                                    mweisberg@weisberglawoffices.com
                                                    Attorney for Plaintiffs
